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    IT IS ORDERED as set forth below:



     Date: May 12, 2021
                                                       _________________________________

                                                                Jeffery W. Cavender
                                                           U.S. Bankruptcy Court Judge

    ________________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                         :         CASE NO. 18-58335-JWC
                                               :
KENNETH PAUL WELLINGTON,                       :         CHAPTER 7
                                               :
         Debtor.                               :
                                               :

      ORDER AUTHORIZING PAYMENT OF ADMINISTRATIVE EXPENSES AND
                    DEBTOR’S CLAIMED EXEMPTION

         On April 9, 2021, S. Gregory Hays, as Chapter 7 Trustee for the bankruptcy estate of

Kenneth Paul Wellington (“Trustee”), filed a motion for authority to pay administrative

expenses of the bankruptcy estate, seeking authority to pay $62,500.00 to the Georgia

Department of Revenue for State income taxes and $264,700.00 to the Internal Revenue Service

for federal income taxes [Doc. No. 48] (the “Motion”). In addition, Trustee seeks authority to

pay Debtor his claimed Exemption1 in certain Shares of Synovos in the amount of $1,250.00.




1
      Capitalized terms not defined in this Order shall have the meanings ascribed to them in
the Motion.


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         In the Motion, Trustee shows that there are sufficient funds in this bankruptcy estate with

which to make the foregoing payments, and Trustee submits that such payments are proper as

administrative expenses of the bankruptcy estate.

         On April 12, 2021, Trustee filed a Notice of Pleading, Deadline to Object, and for

Hearing [Doc. No. 49] (the “Notice”), in accordance with General Order No. 24-2018. Counsel

for Trustee asserts that he served the Notice on all requisite parties in interest. [Doc. No. 50].

         The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Motion was filed prior to the

objection deadline provided in the Notice.

         The Court having considered the Motion and all other matters of record, including the

lack of objection to the relief requested in the Motion; and, the Court having found that good

cause exists to grant the relief requested in the Motion, it is hereby

         ORDERED that the Motion is granted and Trustee is authorized to pay $62,500.00 to the

Georgia Department of Revenue for State income taxes and $264,700.00 to the Internal Revenue

Service for federal income taxes. It is further

         ORDERED that Trustee is authorized to pay Debtor his claimed Exemption in the Shares

of Synovos in the amount of $1,250.00.

                                     [END OF DOCUMENT]




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Order prepared and presented by:


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Identification of parties to be served:

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